             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:07-cr-00032-MR-1


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                        ORDER
                                )
                                )
RODNEY LAMONT ALLEN.            )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s Motion for

Reconsideration of the Court’s Order entered April 25, 2013, which denied

the Defendant relief pursuant to Rule 60(b)(4) of the Federal Rules of Civil

Procedure [Doc. 271].

     Upon considering the Defendant’s Motion and the arguments raised

therein, the Court denies the Defendant’s request for reconsideration.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Reconsideration [Doc. 271] is DENIED.

     IT IS SO ORDERED.          Signed: June 8, 2013




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